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                       EXHIBIT 8
             FILED UNDER SEAL
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                                                                                                   Wilson Sonsini Goodrich & Rosati
                                                                                                   Professional Corporation
                                                                                                   One Market Plaza
                                                                                                   Spear Tower, Suite 3300
                                                                                                   San Francisco, California 94105-1126
                                                                                                   O: 415.947.2000
                                                                                                   F: 415.947.2099




  MIKAELA E. EVANS-AZIZ
  mevansaziz@wsgr.com


                                                                  November 18, 2022
  VIA ELECTRONIC MAIL

  Zeke DeRose, III
  Lanier Law Firm
  10940 W Sam Houston Pkwy
  Suite 100
  Houston, TX 77064


  Re:    In re: Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (PKC)

  Dear Zeke:

          I write further to our November 10, 2022 meet and confer concerning the ESI protocol in
  the above-captioned MDL. It was our understanding from the meet and confer that Plaintiffs
  would be providing some form of written response to the questions raised by Google in our letter
  dated October 14, 2022. In light of the fact that Plaintiffs have not provided Google with any
  additional information, much less an operative counterproposal, Plaintiffs’ suggestion that the
  parties submit competing ESI Order proposals to the Court on November 18 (i.e., today) seems
  unrealistic.

         Plaintiffs were ordered to coordinate with respect to an ESI Order fourteen months ago,
  and these negotiations need to be brought to a close. To that end, Google proposes the following:

               1. Even though Plaintiffs have no counterproposal on the table and have not provided
                  additional information as agreed, and even though Google is under no obligation to
                  negotiate against itself, we have taken back Plaintiffs’ comments from the meet and
                  confer, addressed them with Google, and Google is prepared to agree to accept a
                  further eleven edits requested by Plaintiffs as reflected in the attached redline. To
                  the extent that Plaintiffs’ comments are not reflected in the attached redline, Google
                  disagrees with them.

               2. While reserving our rights as to the relevance of ad logs generally, we have
                  modified our proposed ESI Order to account for the Publisher Plaintiffs’ allegations
                  regarding purported alternative geographic markets in Canada, the United
                  Kingdom, and Australia. However, we disagree with Daily Mail’s position that


               AUSTIN   BEIJING     BOSTON   BRUSSELS      HONG KONG    LONDON    LOS ANGELES    NEW YORK    PALO ALTO
                        SAN DIEGO    SAN FRANCISCO      SEATTLE   SHANGHAI   WASHINGTON, DC     WILMINGTON, DE
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                    Google should be required to preserve many exabytes of worldwide ad log data that
                    is not relevant to this dispute. Even if worldwide ad log data were relevant here,
                    requiring Google to preserve such an extraordinary amount of data is not
                    proportional to the needs of the case pursuant to Fed. R. Civ. P. 26(b)(1) as
                    interpreted by the Sedona Principles.

          With those additional changes in Plaintiffs’ favor, Google is prepared to enter an agreed
  ESI Order in the form attached. Please let us know if Plaintiffs will agree to that so we can submit
  jointly to the Court.

          If any Plaintiffs will not agree to Google’s compromise proposal and instead continue to
  insist on further substantive changes then we are at an impasse. In that case, as set forth in
  Google’s letter dated October 14, 2022, Google is prepared to ask the Court to enter Defendants’
  July 1 Draft without further delay.

                                                             Best Regards,

                                                             WILSON SONSINI GOODRICH & ROSATI
                                                             Professional Corporation

                                                             /s/ Mikaela E. Evans-Aziz

                                                             Mikaela E. Evans-Aziz
                                                             Counsel for Defendants Google LLC,
                                                             Alphabet Inc., and YouTube LLC


  Cc: Counsel for Publisher Plaintiffs, Advertiser Plaintiffs, Daily Mail, and Newspaper Plaintiffs
